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  Attorney for Plaintiff
  Eve Nevada, LLC

                            UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

   Eve Nevada, LLC,                        )   Case No.: 1:20-cv-475-DKW-KJM
                                           )   (Copyright)
                      Plaintiff,           )
      vs.                                  )   STIPULATION FOR DISMISSAL
                                           )   WITH PREJUDICE OF
   Dietrich Riley, et al.                  )   DEFENDANT DIETRICH RILEY
                                           )   PURSUANT TO FED. R. CIV. P.
                      Defendants.          )   41
                                           )
                                           )
                                           )
                                           )


            STIPULATION FOR DISMISSAL WITH PREJUDICE OF DEFENDANT
                DIETRICH RILEY PURSUANT TO FED. R. CIV. P. 41

        IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Eve

  Nevada, LLC (“Plaintiff”), by and through its counsel, and Defendant DIETRICH

  RILEY, appearing pro se, that pursuant to Rules 41(a)(1)(A)(ii) and 41(a) (2) of the

  Federal Rules of Civil Procedure, this action and all claims asserted herein by



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  Plaintiff against Defendant DIETRICH RILEY be and is hereby dismissed with

  prejudice.

        No fees and/or costs are sought to be awarded. Each party is to bear any

  remaining costs and attorneys’ fees other than the amounts to be paid pursuant to a

  confidential Settlement and Release Agreement (“Settlement Agreement”) executed

  between the parties.

        No claims, including any counterclaim, cross-claim, or third-party claim,

  would remain following dismissal.

        No answer or motion for summary judgment has been filed.

        This Stipulation has been executed by Plaintiff’s counsel and Defendant

  DIETRICH RILEY and thus all parties who have appeared.

        This Court will retain jurisdiction until December 31, 2021 for the purposes

  of enforcing the Settlement Agreement.

        Note this action does not terminate the matter as claims remain against other

  Defendants.

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              DATED: Kailua-Kona, Hawaii, April         G, 2021.

                                          CULPEPPERIP,LLLC


                                          Isl Kerry S. Culpepper
                                          Kerry S. Culpepper
                                          Attorney for Plaintiff




                                              16 2021.
              DATED: Maui County, Hawaii, April_,



                                         ~~JV
                                          TRJCHRILEY
                                         Defendant




        APPROVED AS TO FORM:
                   DATED: April 26, 2021 at Honolulu, Hawai'i.

t,.

                                                           /s/ Derrick K. Watson
                                                           Derrick K. Watson
                                                           United States District Judge




        Eve Nevada LLC v. Dietrich Riley, et al; Civ. No. 1:20-cv-475-DKW-KJM;
        STIPULATION FOR DISMISSAL OF DEFENDANT DIETRICH RILEY
        WITH PREJUDICE


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